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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF MARYLAND

  PETER J. MESSITTE                                                           'CSOO CHERRY\VOOD LANE
UNITED STATES DISTRICT JUDGE                                                 GREENBELT,MARYLAND 20770
                                                                                      30M44.0632

                                           MEMORANDUM



  TO:            Counsel of Record


  FROM:          Judge Peter J. Messitte

  RE:            Grant v. State of Maryland, et al.
                 Civil No.PJM 23-313


  DATE:          October
                               IS'^2023
                                                  ***




  The Court has received Plaintiffs Second Motion for Extension ofTime to Serve Individual
  Defendants(ECF No.28), Plaintiffs Second Motion for Additional Time to Serve Individual
  Defendants and to Amend the Complaint Nunc Pro Tune(ECF No. 31), and Plaintiffs Amended
  Complaint(ECF No. 30). As of May 22, 2023,the docket in this matter shows that a summons
  was retumed executed as to the two Defendants Plaintiff asked for additional time to serve, Bond
  and Cooper. See ECF No. 24.

  The Court finds that Plaintiffs Amended Complaint(ECF No. 30)is timely. The above
  referenced Motions(ECF Nos. 28 and       are therefore MOOT and all Defendants who have
  been served must answer accordingly. "^1

  Despite the informal nature of this ruling, it shall constitute an Order ofthe Court and the Clerk"
  is directed to docket it accordingly.




                                                                 BETERJ. MESSITTE
                                                        UNI       JTATES DISTRICT JUDGE
  cc:     Court File
